                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                            ROANOKE DIVISION


                                                              Action No: 7:18CR00388
BH Media Group, Inc.                                          Date: 9/7/18
vs.                                                           Judge: Michael F. Urbanski, CUSDJ
                                                              Court Reporter: none
Andy Bitter
                                                              Deputy Clerk: Kristin Ayersman



Plaintiff Attorney(s)                                Defendant Attorney(s)
Laura Denise Windsor, Meredith M.                    John Benjamin Rottenborn, Brooks
Haynes, Dirk Douglas Lasater                         Alexander Duncan




PROCEEDINGS:
Parties present telephonically. Counsel has exchanged email re setting TRO and Court inquires
as to where the parties are regarding settling those issues. Parties had discussed 9/19 as date for
TRO hearing however Court has 9/25 open now and parties are available and Court resets this
case. Pltf indicates that there is a witness coming from out of town and that they anticipate
limited actual argument due to briefing and estimate half day. Dft would prefer to set aside an
entire day for this TRO but is hopeful it will be less. Court sets TRO for 9/25/18, all day.

Court addresses witnesses and live testimony – will consider both and affidavits and declarations
in addition. Pltf addresses briefing schedule – proposes due dates for remaining briefing. Oral
order for production of any document referenced in complaint or any document pltf will use to
establish ownership of Twitter account produced to dft by 9/10/18. Dft to also produce similar
documents by 9/10/18 to pltf. These documents are to be used for this case only and for no other
purpose. Pltf may redact salary information/personal identifying information. Court reminds
parties that any document that is filed with the court on ECF is a matter of public record and the
public has unrestricted access to it. Dft has until 9/17 to file br in opp to TRO. Pltf to file reply on
9/23. Witness lists/exhibits to be exchanged by 9/19 – rebuttal to due 9/21.


Time in Court: 2:05-2:32 27 minutes




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